                Case 2:09-cr-00500-KJM Document 25 Filed 12/09/10 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   LEXI NEGIN, Bar# 250376
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     DEANDRE LAMAR DOSTY
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )               CR. S-09-500-FCD
                                       )
12                   Plaintiff,        )               STIPULATION AND ORDER TO
                                       )               CONTINUE STATUS HEARING AND TO
13         v.                          )               EXCLUDE TIME PURSUANT TO THE
                                       )               SPEEDY TRIAL ACT
14   DEANDRE LAMAR DOSTY,              )
     RAE LEONARD YOUNG,                )               DATE:       January 10, 2011
15                                     )               TIME:       10:00 a.m.
                     Defendants.       )               JUDGE:      Frank C. Damrell, Jr.
16                                     )
     _________________________________ )
17
18         It is hereby stipulated and agreed to between the United States of America through Jason Hitt,
19   Assistant U.S. Attorney, and defendants, DEANDRE LAMAR DOSTY by and through his counsel, Lexi
20   Negin, Assistant Federal Defender, and RAE LEONARD YOUNG by and through his counsel, William
21   E. Bonham, that the status conference set for December 13, 2010, be continued to January 10, 2011, at
22   10:00 a.m.
23         The reason for this continuance is to allow defense counsel additional time to review discovery with
24   the defendants, to examine possible defenses, and to continue investigating the facts of the case.
25   ///
26   ///
27   ///
28   ///
               Case 2:09-cr-00500-KJM Document 25 Filed 12/09/10 Page 2 of 2


 1       It is further stipulated that the time period from the date of this stipulation, December 8, 2010,
 2   through and including the date of the new status conference hearing, January 10, 2011, shall be excluded
 3   from computation of time within which the trial of this matter must be commenced under the Speedy Trial
 4   Act, pursuant to 18 U.S.C. §§ 3161 (h)(7)(A)&(B)(iv)and Local Code T4 [reasonable time for defense
 5   counsel to prepare].
 6
 7   DATED: December 8, 2010
 8                                              Respectfully submitted,
 9                                              DANIEL J. BRODERICK
                                                Federal Defender
10
                                                 /s/ Lexi Negin
11                                              LEXI NEGIN
                                                Assistant Federal Defender
12                                              Attorney for Defendant
                                                DEANDRE LAMAR DOSTY
13
14   DATED: December 8, 2010                     /s/ Lexi Negin for
                                                WILLIAM E. BONHAM
15                                              Attorney for Defendant
                                                RAE LEONARD YOUNG
16
17   DATED: December 8, 2010                    BENJAMIN B. WAGNER
                                                United States Attorney
18
                                                 /s/ Lexi Negin for
19                                              JASON HITT
                                                Assistant U.S. Attorney
20                                              Attorney for Plaintiff
21
22                                                   ORDER
23       IT IS SO ORDERED. Time is excluded from today’s date through and including January 10, 2011,
24   in the interests of justice pursuant to 18 U.S.C. §3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and
25   Local Code T4.
26   DATED: December 9, 2010
27                                                       _______________________________________
28                                                       FRANK C. DAMRELL, JR.
                                                         UNITED STATES DISTRICT JUDGE

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